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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MISSOURI

In Re:                                     )
                                           ) Case No. 22-41362
KOBI GILKEY,                               )
                                           ) Chapter 13 Bankruptcy
       Debtor.                             )

                RESPONSE TO TRUSTEE’S MOTION TO DISMISS
      COMES NOW Debtor, by and through counsel, and in response
to Trustee’s Motion states as follows:
   1. Debtor admits the allegations in paragraphs 1, 2, 3, 4, and
      5 of Trustee’s Motion to Dismiss.
   2. Further, undersigned counsel is attempting to contact
      Debtor concerning payments, and respectfully requests a
      hearing on the Trustee’s Motion to Dismiss.
      WHEREFORE, having fully answered, Debtor requests this
Court allow additional time for Attorney to contact Debtor, so
that Debtor may become current in his payments, and for such
other and further relief as this Court may deem just and
equitable.
                                By:__/s/Robert E. Faerber
                                  Robert E. Faerber, #46794MO
                                  Attorney for Debtor
                                  230 S. Bemiston, Ste. 600
                                  Clayton, Missouri 63105
                                  Tel: (314) 727-3434
                                  Fax: (314) 727-6992
                                  Email: faerber@msn.com

                           CERTIFICATE OF SERVICE

     I certify that a true and correct copy of the foregoing was
filed electronically on December 16, 2022 with the United States
Bankruptcy Court, and has been served on the parties in interest
via e-mail by the Court’s CM/ECF System as listed on the Court’s
Electronic Mail Notice List.

Diana S. Daugherty (standing_trustee@ch13stl.com)
Office of U.S. Trustee (USTPRegion13.SL.ECF@USDOJ.gov)

                                      /s/Robert E. Faerber
